19-22047-shl         Doc 23       Filed 04/12/19         Entered 04/12/19 10:10:21 Main Document
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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------x
    In re:                                                                  Chapter 13

    Oluchi Nwokocha aka Oluchi Nwanganga                                          Case No. 19-22047


                                                 Debtor
    ------------------------------------------------------------------x

                                 CREDITOR LOSS MITIGATION AFFIDAVIT

          I, Nicole E. Schiavo, being sworn, say:

          I am not a party to this action, am over 18 years of age and reside in New York.

       On April 10, 2019, I served a true copy of the financial packet and this “Creditor Loss
Mitigation Affidavit”1 upon the following parties via email at the following addresses:
              SCastro@kolberlegal.com; and
              akolber@kolberlegal.com

          Pursuant to that request, the Debtor2 must provide the following documents:

        X          A copy of the Debtor’s two (2) most recent complete and signed federal income
tax returns;

       X       A copy of the Debtor’s paycheck stubs, proof of social security income, pensions,
or any other income received by the Debtor reflecting the most recent 30 days’ or four weeks’
earnings and documentation of year-to-date income if not reported on the paystubs;

          Or, if Debtor is self-employed:

        X      A copy of the Debtor’s business tax returns, signed and completed, and the most
recent quarterly signed and dated profit/loss statement setting forth a breakdown of the monthly
business income and expenses, copies of bank statements for business account for the last two
months

          X        A copy of the mortgagee’s completed financial worksheet;

       X       Proof of second/third party income by affidavit of the party, including the party’s
most recent 30 days’ or four weeks’ earnings and documentation of year-to-date income if not
reported on the paystubs,

          X        Other (please specify):

1
  Italicized words in quotations indicate that there is a form by the same name on the Bankruptcy Court’s website.
These forms shall be used whenever applicable.
2
  Unless otherwise provided herein, all capitalized terms are defined in the Southern District of New York’s Loss
Mitigation Program Procedures. The Loss Mitigation Program Procedures’ definition of “Debtor” includes joint
debtors.
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              4506-T form, signed and dated;
              Complete expense statement, signed and dated;
              Divorce decree; and
              Quit claim deed from ex-husband.

       Please be advised that the Creditor designates the following person to be its Loss
Mitigation contact:

       Name: _Nicole E. Schiavo_____

       Title: __Outside Counsel__________________________

       Phone Number:_____212-918-3019______________________

       Fax Number: ____212-918-3100____________________________________

       Email Address: nicole.schiavo@hoganlovells.com_______________________


      Please be advised that the Creditor designates the following person to be its attorney for
Loss Mitigation on this Loan.

       Name: __ Nicole E. Schiavo ________________________

       Firm: __Hogan Lovells US LLP_________________________________

       Phone Number:_212-918-3019________________________

       Fax Number:_____212-918-3100______________________

       Email Address: nicole.schiavo@hoganlovells.com_____________


Dated: New York, New York
       April 10, 2019


                                                        /s/ Nicole E. Schiavo




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